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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                     )
  UNITED STATES OF AMERICA,                          )
                                                     )
                        Plaintiff,                   )
                                                     )
                v.                                   )         C.A. No. 20-cv-1744-CFC
                                                     )
  WALMART INC. AND WAL-MART STORES                   )
  EAST, LP,                                          )
                                                     )
                        Defendants.                  )
                                                     )


                           NOTICE OF SERVICE OF SUBPOENA

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 45, plaintiff

 the United States of America will cause a subpoena to produce documents to be served upon:

        Custodian of Records
        Florida Board of Medicine, Florida Department of Health
        4052 Bald Cypress Way
        Bin C-03, Tallahassee, FL 32399-3253

        On June 6, 2025 the United States served the foregoing subpoena via email on counsel

 for defendants Walmart Inc. and Wal-Mart Stores East, LP listed below.



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                                                Respectfully submitted,

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 Dated: June 6, 2025




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